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 1   MICHAEL B. BIGELOW
     Attorney at Law
 2   State Bar No. 65211
     331 J Street, Suite 200
 3   Sacramento, CA 95814
     Telephone: (916) 443-0217
 4   Email: LawOffice.mbigelow@gmail.com
 5   Attorney for Defendant
     Luan Tran
 6
                    IN THE UNITED STATES DISTRICT COURT
 7
               IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,         )      Case No. CR. S-12-409 TLN
10                                     )
               Plaintiff,              )      STIPULATION AND ORDER
11                                     )
         Vs                            )
12                                     )
     LUAN TRAN,                        )
13                                     )
               Defendant               )
14                                     )
15
                                      BACKGROUND
16
         By previous stipulation previous Court order between the
17
     parties, sentencing for both defendants in this matter has been
18

19   continued to January 16, 2014, at 9:30 AM. (Dkt 59).

20       By agreement between the Government and defendant Luan Tran

21   Luan Tran joins in both the informal objections and the formal

22   objections to the PSR, filed by codefendant Nina Nguyen on

23   November 21, 2013, (Dkt 56). It is agreed between the parties
24   that as alleged, the Government’s argument for the 2-level
25
     enhancement pursuant to USSG §3B1.4 is applicable to both



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 1   defendants. Accordingly, the objections propounded by
 2   codefendant Nguyen are equally applicable to both defendants.
 3
         The parties also agree that the final PSR, and its ultimate
 4
     recommendation would remain unchanged.
 5

 6
         IT IS SO STIPULATED
 7

 8
     /S/MICHAEL B. BIGELOW                     Dated: December 5, 2013
 9   Michael B. Bigelow
     Attorney for Defendant
10
     Luan Tran
11

12   /S/STEVEN LAPHAM                          Dated: December 5, 2013
     Steven Lapham
13   Assistant United State Attorney
     Attorney for Plaintiff
14

15                                     ORDER

16       IT IS SO ORDERED.
17   Dated: December 6, 2013
18

19

20

21
                                 Troy L. Nunley
22
                                 United States District Judge
23

24

25




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